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8                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA
9
10     Scott Johnson                             Case No.
11               Plaintiff,
12                                               Complaint For Damages And
            v.                                   Injunctive Relief For Violations
13                                               Of: Americans With Disabilities
       Carstens Realty, a California             Act; Unruh Civil Rights Act
14     Corporation;
       Bel Mateo, LLC, a Delaware
15     Limited Liability Company
16
                 Defendants.
17
18
             Plaintiff Scott Johnson complains of Carstens Realty, a California
19
     Corporation; Bel Mateo, LLC, a Delaware Limited Liability Company; and
20
     alleges as follows:
21
22
23     PARTIES:
24     1. Plaintiff is a California resident with physical disabilities. Plaintiff is a
25   level C-5 quadriplegic. He cannot walk and has significant manual dexterity
26   impairments. He uses a wheelchair for mobility and has a specially equipped
27   van.
28     2. Defendant Carstens Realty, a California Corporation, owned the real


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1    property located at or about 61 43rd Ave., San Mateo, California, between July
2    2021 and December 2021.
3      3. Defendant Carstens Realty, a California Corporation, owns the real
4    property located at or about 61 43rd Ave., San Mateo, California, currently.
5      4. Defendant Bel Mateo, LLC owned Round Table Pizza located at or
6    about 61 W. 43rd Ave., San Mateo, California, between July 2021 and
7    December 2021.
8      5. Defendant Bel Mateo, LLC owns Round Table Pizza (“Restaurant”)
9    located at or about 61 W. 43rd Ave., San Mateo, California, currently.
10     6. Plaintiff does not know the true names of Defendants, their business
11   capacities, their ownership connection to the property and business, or their
12   relative responsibilities in causing the access violations herein complained of,
13   and alleges a joint venture and common enterprise by all such Defendants.
14   Plaintiff is informed and believes that each of the Defendants herein is
15   responsible in some capacity for the events herein alleged, or is a necessary
16   party for obtaining appropriate relief. Plaintiff will seek leave to amend when
17   the true names, capacities, connections, and responsibilities of the Defendants
18   are ascertained.
19
20     JURISDICTION & VENUE:
21     7. The Court has subject matter jurisdiction over the action pursuant to 28
22   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
23   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
24     8. Pursuant to supplemental jurisdiction, an attendant and related cause
25   of action, arising from the same nucleus of operative facts and arising out of
26   the same transactions, is also brought under California’s Unruh Civil Rights
27   Act, which act expressly incorporates the Americans with Disabilities Act.
28     9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is


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1    founded on the fact that the real property which is the subject of this action is
2    located in this district and that Plaintiff's cause of action arose in this district.
3
4      FACTUAL ALLEGATIONS:
5      10. Plaintiff went to the Restaurant in July 2021 and December 2021 with
6    the intention to avail himself of its goods or services motivated in part to
7    determine if the defendants comply with the disability access laws.
8      11. The Restaurant is a facility open to the public, a place of public
9    accommodation, and a business establishment.
10     12. Unfortunately, on the dates of the plaintiff’s visits, the defendants failed
11   to provide wheelchair accessible sales counters in conformance with the ADA
12   Standards as it relates to wheelchair users like the plaintiff.
13     13. The Restaurant provides sales counters to its customers but fails to
14   provide wheelchair accessible sales counters.
15     14. One problem that plaintiff encountered was that the sales counters were
16   too high. Although there was a lowered section near the rear sales area, the
17   credit card terminals for use by customers was located at the higher counter,
18   which was about 43 inches in height. It appears that the defendants use the
19   lowered section as a pick-up counter. The plaintiff was helped at the higher,
20   43-inch-high counter, during his December 2021 transaction.
21     15. Plaintiff believes that there are other features of the sales counters that
22   likely fail to comply with the ADA Standards and seeks to have fully compliant
23   sales counters for wheelchair users.
24     16. On information and belief, the defendants currently fail to provide
25   wheelchair accessible sales counters.
26     17. Additionally, on the dates of the plaintiff’s visits, the defendants failed
27   to provide accessible entrance door hardware in conformance with the ADA
28   Standards as it relates to users like the plaintiff.


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1      18. The Restaurant provides door hardware to its customers but fails to
2    provide accessible entrance door hardware.
3      19. A problem that plaintiff encountered was that the entrance door
4    hardware had a panel style handle that required tight grasping to operate.
5      20. Plaintiff believes that there are other features of the door hardware that
6    likely fail to comply with the ADA Standards and seeks to have fully compliant
7    door hardware.
8      21. On information and belief, the defendants currently fail to provide
9    accessible door hardware.
10     22. The failure to provide accessible facilities created difficulty and
11   discomfort for the Plaintiff.
12     23. These barriers relate to and impact the plaintiff’s disability. Plaintiff
13   personally encountered these barriers.
14     24. As a wheelchair user, the plaintiff benefits from and is entitled to use
15   wheelchair accessible facilities. By failing to provide accessible facilities, the
16   defendants denied the plaintiff full and equal access.
17     25. The defendants have failed to maintain in working and useable
18   conditions those features required to provide ready access to persons with
19   disabilities.
20     26. The barriers identified above are easily removed without much
21   difficulty or expense. They are the types of barriers identified by the
22   Department of Justice as presumably readily achievable to remove and, in fact,
23   these barriers are readily achievable to remove. Moreover, there are numerous
24   alternative accommodations that could be made to provide a greater level of
25   access if complete removal were not achievable.
26     27. Plaintiff will return to the Restaurant to avail himself of its goods or
27   services and to determine compliance with the disability access laws once it is
28   represented to him that the Restaurant and its facilities are accessible. Plaintiff


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1    is currently deterred from doing so because of his knowledge of the existing
2    barriers and his uncertainty about the existence of yet other barriers on the
3    site. If the barriers are not removed, the plaintiff will face unlawful and
4    discriminatory barriers again.
5      28. Given the obvious and blatant nature of the barriers and violations
6    alleged herein, the plaintiff alleges, on information and belief, that there are
7    other violations and barriers on the site that relate to his disability. Plaintiff will
8    amend the complaint, to provide proper notice regarding the scope of this
9    lawsuit, once he conducts a site inspection. However, please be on notice that
10   the plaintiff seeks to have all barriers related to his disability remedied. See
11   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
12   encounters one barrier at a site, he can sue to have all barriers that relate to his
13   disability removed regardless of whether he personally encountered them).
14
15   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
16   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
17   Defendants.) (42 U.S.C. section 12101, et seq.)
18     29. Plaintiff re-pleads and incorporates by reference, as if fully set forth
19   again herein, the allegations contained in all prior paragraphs of this
20   complaint.
21     30. Under the ADA, it is an act of discrimination to fail to ensure that the
22   privileges, advantages, accommodations, facilities, goods and services of any
23   place of public accommodation is offered on a full and equal basis by anyone
24   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
25   § 12182(a). Discrimination is defined, inter alia, as follows:
26             a. A failure to make reasonable modifications in policies, practices,
27                or procedures, when such modifications are necessary to afford
28                goods,     services,     facilities,   privileges,    advantages,      or


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1                accommodations to individuals with disabilities, unless the
2                accommodation would work a fundamental alteration of those
3                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
4             b. A failure to remove architectural barriers where such removal is
5                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
6                defined by reference to the ADA Standards.
7             c. A failure to make alterations in such a manner that, to the
8                maximum extent feasible, the altered portions of the facility are
9                readily accessible to and usable by individuals with disabilities,
10               including individuals who use wheelchairs or to ensure that, to the
11               maximum extent feasible, the path of travel to the altered area and
12               the bathrooms, telephones, and drinking fountains serving the
13               altered area, are readily accessible to and usable by individuals
14               with disabilities. 42 U.S.C. § 12183(a)(2).
15     31. When a business provides sales counters, it must provide accessible
16   sales counters.
17     32. Here, accessible sales counters have not been provided in conformance
18   with the ADA Standards.
19     33. When a business provides door hardware, it must provide accessible
20   door hardware.
21     34. Here, accessible door hardware has not been provided in conformance
22   with the ADA Standards.
23     35. The Safe Harbor provisions of the 2010 Standards are not applicable
24   here because the conditions challenged in this lawsuit do not comply with the
25   1991 Standards.
26     36. A public accommodation must maintain in operable working condition
27   those features of its facilities and equipment that are required to be readily
28   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).


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1       37. Here, the failure to ensure that the accessible facilities were available
2    and ready to be used by the plaintiff is a violation of the law.
3
4    II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
5    RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
6    Code § 51-53.)
7       38. Plaintiff repleads and incorporates by reference, as if fully set forth
8    again herein, the allegations contained in all prior paragraphs of this
9    complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
10   that persons with disabilities are entitled to full and equal accommodations,
11   advantages, facilities, privileges, or services in all business establishment of
12   every kind whatsoever within the jurisdiction of the State of California. Cal.
13   Civ. Code §51(b).
14      39. The Unruh Act provides that a violation of the ADA is a violation of the
15   Unruh Act. Cal. Civ. Code, § 51(f).
16      40. Defendants’ acts and omissions, as herein alleged, have violated the
17   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
18   rights to full and equal use of the accommodations, advantages, facilities,
19   privileges, or services offered.
20      41. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
21   discomfort or embarrassment for the plaintiff, the defendants are also each
22   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
23   (c).)
24      42. Although the plaintiff encountered frustration and difficulty by facing
25   discriminatory barriers, even manifesting itself with minor and fleeting
26   physical symptoms, the plaintiff does not value this very modest physical
27   personal injury greater than the amount of the statutory damages.
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1           PRAYER:
2           Wherefore, Plaintiff prays that this Court award damages and provide
3    relief as follows:
4        1. For injunctive relief, compelling Defendants to comply with the
5    Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
6    plaintiff is not invoking section 55 of the California Civil Code and is not
7    seeking injunctive relief under the Disabled Persons Act at all.
8        2. For equitable nominal damages for violation of the ADA. See
9    Uzuegbunam v. Preczewski, --- U.S. ---, 2021 WL 850106 (U.S. Mar. 8, 2021)
10   and any other equitable relief the Court sees fit to grant.
11       3. Damages under the Unruh Civil Rights Act, which provides for actual
12   damages and a statutory minimum of $4,000 for each offense.
13       4. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
14   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
15
16   Dated: February 15, 2022                CENTER FOR DISABILITY ACCESS
17
18                                           By: _______________________
19                                                  Amanda Seabock, Esq.
                                                    Attorney for plaintiff
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